UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

CASE NO. 3:17-cv-149-FDW-DCK

CARLSON ENVIRONMENTAL )
CONSULTANTS, PC, )
)

Plaintiff, ) AFFIDAVIT OF WILLIAM P. BRINKER
)
V. )
)
SEAN SLAYTON, )
)
Defendant. )

I, William P. Brinker, being duly sown, depose and state the following:

1. I am over the age of 18 and otherwise competent to make this affidavit. The
statements made in this affidavit are based on my personal knowledge, unless otherwise
indicated upon information and belief.

2s I am an owner of Advance One Development, LLC, a construction company that
builds landfill gas systems.

3. Sean Slayton has not contacted me to solicit drilling work at any time since his

employment with Carlson Environmental Consultants, PC ended.

This the ||P aay of September, 2017. Le

LD

WILLIAM P. BRINKER

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STATE OF NORTH CAROLINA

On bg -__ COUNTY

I,

A. fe KS « yes. uz a Notary Public do hereby certify that WILLIAM P.
BRINKER, personally appeared before me this day and acknowledged the due execution of the
foregoing Affidavit.

WITNESS my hand and official seal, this the l | day of September, 2017.

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ne ©. ) —
Notary P\blic "a.

My Commission Expires: a | ut | LS

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